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                       IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION


UNITED STATES OF AMERICA,


                                                                   CASE NO. CR405-59

MARTIN J. BRADLEY, III; MARTIN J.
BRADLEY, JR.; JOSE A. TRESPALACIOS;
EDWIN RIVERA, JR.; ALBERT L. TELLECHEA;
MARLENE D. CACERES; STEPHEN B. GETZ;
SARA E. GRIFFIN; and BlO-MED PLUS, INC.,

        Defendants.


                                            ORDER

        William R. Schroeder, Substitute Receiver for Martin J. Bradley, Jr., Martin J. Bradley,

III and Bio-Med Plus, Inc. having filed his motion seeking the Court to approve the Final

Accounting (Doc. #1379), the Substitute Receiver's Final Report (Doc. #1389), the Substitute

Receiver's Final Supplemental accounting (Doc. #1464), the Addendum to Final Supplemental

Accounting attached hereto as Exhibit A and compensation of Substitute Receiver and for the

Court to discharge Substitute Receiver and terminate the Receivership, IT IS HEREBY

IQA
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        That all responses and/or objections to said motion shall be filed on or before Monday,

January 21, 2013, at 10:00 a.m.

        That said motion will be heard by the Court on Wednesday, January 30, 2013, at 10

o'clock a.m., and any party, person or entity objecting to said motion shall appear and show

cause as to why the relief sought by the Substitute Receiver should not be granted. Attendance
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for those not having objections is not required.

       This 8th day of January, 2013.




                                                   B. Avant Edenfield
                                                   United States District Ju4g(
                                                   Southern District of Georgia
